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                       EXHIBIT B
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                                                                                                               1/4/2021 1:31 AM
                                                                                  Marilyn Burgess - District Clerk Harris County
                                                                                                       Envelope No.49349963
                                                                                                          By: Wanda Chambers
                                                                                                        Filed: 1/4/2021 1:31 AM
                                      NO. 2021-00001

CANDI WINDOM                                             IN THE DISTRICT COURT
      Plaintiff,

VS
                                                         HARRIS COUNTY,TEXAS
WALMART,INC
    Defendant,

                                                                  152nd JUDICIAL DISTRICT


                                    PLAINTIFF'S ORIGINAL PETITION

      TO THE HONORABLE COURT:

      Ms_ Candi Windom, plaintiff, complains of Walmart, Inc., Defendant herein, and for cause of action
      shows:

                                          1. Selection of Discovery Level
      The Petition is being filed under Level 2 of Rule 190.3.

                                         2.Parties and Service of Citation
         Plaintiff is an individual residing in Harris County, Texas. Defendant, Wal-Mart, Inc., is a foreign
     for-profit corporation and can be served with process through its registered agent of service, CT
     Corporation, 1999 Bryan Street, Suite 900,Dallas, Texas 75201.

                                             3.Venue and Jurisdiction
       Venue is proper in Harris County, Texas pursuant to Section 15.002 of the Texas Civil Practice and
      Remedies Code, because the incident which forms the basis of this suit occurred in Harris County,
      Texas, Plaintiff resides in Harris County, Texas, and Defendant does business in Harris County,


                                                       4.Facts
         a. The Wal-Mart Supercenter, Store # 5091,located at 26270 N.W. Frvvy., Cypress Texas 77429
     ("the Pi emiscs"), is an especially busy retail location

         b. Plaintiff went the Premises on or about January 4,2019 to pick up a friend

         c. When Plaintiff arrived at Wal-Mart there was a large fight between multiple adults

         d. As Plaintiff was leaving the Premises, Plaintiff was stabbed on the arm by one ofthe adults
      involved in the fight.

                                           5. Defendant's Negligence
         Defendant own and operate the Premises where Candi Windom was stabbed. Further, Defendant
      was responsible for providing security for the Premises. Specifically, Defendant had an obligation to
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provide security to patrol and monitor the entrances and common areas of the Premises, including the
areas inside the store where Plaintiff was before Plaintiff was stabbed.

   It was the responsibility of Defendant to provide security to the Premises due to the capacity of
patrons at the Premises. Despite the crowd at the Premises on the day ofthe stabbing, no security guards
were provided to protect the patrons at the Premises.

    Candi Windsom's injuries, harms and losses would not have occurred but for the negligence, gross
negligence and premises liability of Defendant. The occurrence made the basis of this lawsuit and the
resulting injuries and damages were proximately caused by the following non-exhaustive list ofacts and
omissions of the Defendant, including:
    a. Failing to keep a plum lookout;
     b. Failing to maintain proper security equipment;
    c. Failing to properly secure the premises;
    d. Failing to properly patrol the premises in question;
    e. Being inattentive; and
    f. Failing to observe ordinary care and prudence given the circumstances.

    Defendant owed a duty to Plaintiff to take reasonable care to discover dangers and to reduce or
eliminate such dangers on the Premises. Defendant had a non-delegable duty ofordinary care to secure
the Premises and to keep patrons of the Premises safe. Defendant failed to comply with this duty by
failing to provide proper security at the Premises to discourage, timely stop, and/or prevent the stabbing
from occurring. Defendant's failure to provide a guard on the Premises to prevent the Stabber from
coming back on the Premises and protect patrons on the Premises created a hazardous condition to
patrons of the Premises.

   Each of the above acts and omissions, taken singularly or in combination with others, constituted
negligence which proximately caused the occurrence made the basis of this action and caused injuries,
harms, and damages to Plaintiff, Candi Windom.

    Each of these acts and omissions, singularly or in combination with others, constituted gross
negligence in that, when viewed objectively, it indicated an extreme degree of risk, considering the
probability and magnitude of the potential harm to the invitees of the Premises, including Plaintiff.
Defendant had actual, subjective awareness of the other risks but proceeded anyway with conscious
indifference to the rights, safety, or welfare of others, and in particular, the invitees of the Premises.
Such gross negligence was a proximate cause ofthe occurrence

                                          5.Plaintiffs Damages
   As a result of the incident, Plaintiff has suffered and will suffer personal damages and economic
damages. Plaintiff brings this suit for the following damages:

a. Physical pain and disability suffered by the Plaintifffrom the day ofthe injury to the time of trial;
b. Future physical pain and mental anguish reasonably anticipated to be suffered by the Plaintiff in
   the future;
c. Mental anguish, embarrassment and suffering sustained by Plaintifffrom the day of the injury to
   the time of trial;
d. Loss of earnings sustained by Plaintifffrom the date ofinjury to the time of trial;
e. Loss of earnings and earning capacity suffered by Plaintiff beyond the date of trial;
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 f. Reasonable and necessary medical expenses incurred by Plaintiffin the treatment of her injuries
    from the day of the injury to the time of trial:
 g. Reasonable and necessary medical expenses reasonably anticipated to be suffered by the Plaintiff
    in the future for treatment of her injuries;
 h. Physical impairment and disfigurement sustained by the Plaintifffrom the date of injury to the
    time of trial; and
 i. Future physical impairment and disfigurement reasonably anticipated to be sustained by Plaintiff
    in the future.

 WHEREFORE,plaintiff requests that defendant be cited to appear and answer, and that on final trial
 plaintiff have:
 1. Judgment against defendant for a sum within thejurisdictional limits ofthe Court, with prejudgment
 interest as provided by law.
 2. Interest after judgment at the legal rate until paid.
 3. Costs ofsuit.
 4. Such other and further reliefto which plaintiff may be justly entitled.


                                                Respectfully submitted,

                                                Henderson Law Group,PLLC

                                                By: /s/ Chadrick S. Henderson
                                                Chadrick S. Henderson
                                                POB 88323
                                                Houston, TX 77288
                                                Tel: (832)209-1441
                                                Email: chadhendersonlaw@yahoo.com
                                                Fax: (832)209-1380
                                                TBN: 00797854
                                                Attorney for Plaintiff

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      Case 4:21-cv-00595 Document 1-2 Filed on 02/24/21 in TXSD Page 5 of 7                            2/15/2021 9:57 AM
                                                                            Marilyn Burgess - District Clerk Harris County
                                                                                                 Envelope No. 50654398
                                                                                                  By: KATINA WILLIAMS
                                                                                                Filed: 2/15/2021 9:57 AM

                                    CAUSE NO. 2021-00001

CANDI WINDOM                                     §        IN THE DISTRICT COURT OF
          Plaintiff,                             §
                                                 §
vs.                                              §        HARRIS COUNTY, TEXAS
                                                 §
WALMART INC.                                     §
    Defendant.                                   §
                                                 §        152ND    JUDICIAL DISTRICT

                            DEFENDANT’S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

        Defendant WALMART STORES TEXAS, LLC, incorrectly sued as Walmart Inc., files

this Original Answer to Plaintiff’s Original Petition (“Petition”), and in support thereof, would

respectfully show the Court the following:

                                      I.     General Denial

        1.      Under Rule 92 of the Texas Rules of Civil Procedure, Defendant generally denies

each and every allegation made against Defendants in Plaintiff’s Original Petition.

                                   II. Affirmative Defenses

        2.      Defendant asserts the affirmative defense of contributory negligence. The actions

of Plaintiff caused or contributed to Plaintiff’s injures so that the claims are barred or, in the

alternative, must be reduced in accordance with the relative degree of Plaintiff’s own negligence.

Defendant requests the trier of fact to determine Plaintiff’s liability and percentage of

responsibility pursuant to Texas Civil Practice & Remedies Code section 33.003.

        3.      Defendant is entitled to all caps and limitations on damages pursuant to the Texas

Civil Practice & Remedies Code.

        4.      Defendant alleges that Plaintiff’s injuries and/or damages were caused by an

intervening event for which Defendant has no liability.
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        5.      Defendant affirmatively pleads that Plaintiff’s injuries were caused by the actions

or inactions of parties not under Defendant’s control.

        6.      Defendant affirmatively pleads the defense set forth in Texas Civil Practice and

Remedies Code Section 18.091, requiring Plaintiff to prove Plaintiff’s loss of earning, loss of

contributions of a pecuniary value, and/or loss of earning capacity in the form of a net loss after

reduction for income tax payments or unpaid tax liability on said loss or earning claim pursuant

to any federal income tax law.

        7.      To the extent that Plaintiff’s medical expenses exceed the amount actually paid on

Plaintiff’s behalf to Plaintiff’s medical providers, Defendant asserts the statutory defense set

forth in Section 41.0105 of the Texas Civil Practice and Remedies Code. Thus, recovery of

Plaintiff’s medical or health care expenses is limited to the amount actually paid or incurred by

or on behalf of Plaintiff.

        8.      Plaintiff’s claims for pre-judgment interest are limited by the dates and amounts

set forth in Section 304.104 of the Texas Finance Code and Section 41.007 of the Texas Civil

Practice & Remedies Code.

                                      III. Jury Demand

        9.      Defendant hereby exercises its rights to demand a trial by jury under Rule 216 of

the Texas Rules of Civil Procedure on all issues triable by a jury.

                                  IV. Request for Disclosure

        10.     Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiff is requested

to disclose, within thirty days of service of this request, the information or material described in

Rule 194.2(a)-(l) and the documents described in Rule 194.4 of the Texas Rules of Civil

Procedure.


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                                          V.    Prayer

        FOR THESE REASONS, Defendant WALMART STORES TEXAS, LLC., Incorrectly

sued as Walmart Inc., respectfully prays that the Court enter a judgment that:

        1.      Dismisses all claims against Defendant Walmart Stores Texas, LLC, incorrectly

       sued as Walmart, Inc., and orders that Plaintiff take nothing by reason of Plaintiff’s

       allegations.

        2.      Orders that Defendant recover all costs incurred in defense of Plaintiff’s claims,

       and that Defendant’s judgment against Plaintiff include the following:

             a. Costs of suit; and

             b. Such other and further relief, general and special, at law or in equity, to which

                Defendant may be justly entitled.

                                               Respectfully submitted,
                                               MEHAFFYWEBER, P.C.

                                               By:/s/Maryalyce W. Cox
                                               Maryalyce W. Cox
                                               State Bar No. 24009203
                                               One Allen Center
                                               500 Dallas, Suite 2800
                                               Houston, Texas 77002
                                               Telephone - (713) 655-1200
                                               Telecopier - (713) 655-0222
                                               maryalycecox@mehaffyweber.com

                                               ATTORNEYS FOR DEFENDANT



                                 CERTIFICATE OF SERVICE

        This will certify that a copy of the foregoing document was furnished to counsel for
Plaintiff on February 15, 2021, pursuant to the Texas Rules of Civil Procedure.

                                               Maryalyce W. Cox
                                               Maryalyce W. Cox

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